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1                       IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE
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3
     In Re:                                          Chapter 11
4
     J & M Sales Inc., et al.,                       Case No. 1:18-bk-11801-LSS
5
                    Debtors.                         (Jointly Administered)
6                                                    Hearing Date: August 28, 2018
                                                     Hearing Time: 10:00 a.m. (ET)
7
                                                     Relates to Docket Nos. 16 and 89
8
       OBJECTION TO DEBTORS’ MOTION FOR INTERIM AND FINAL ORDERS (I)
9    AUTHORIZING THE DEBTORS TO ASSUME THE CONSULTING AGREEMENT, (II)
      AUTHORIZING AND APPROVING THE CONDUCT OF STORE CLOSING SALE,
10     WITH SUCH SALES TO BE FREE AND CLEAR OF ALL LIENS, CLAIMS, AND
              ENCUMBRANCES, AND (III) GRANTING RELATED RELIEF
11

12            Maricopa County Treasurer (“MCT”), by and through its undersigned counsel,

13   hereby submits this objection (the “Objection”) to Debtors’ Motion for Interim and Final

14   Orders (I) Authorizing the Debtors to Assume the Consulting Agreement, (II) Authorizing

15   and Approving the Conduct of Store Closing Sale, With Such Sales to be Free and

16   Clear of All Liens, Claims, and Encumbrances, and (III) Granting Related Relief [Docket

17   No. 16] (the “Motion”). In support of the Objection, MCT respectfully represents as

18   follows:

19                                  PRELIMINARY STATEMENT

20            MCT provides notice that it claims perfected statutory liens, in accordance with

21   A.R.S. §§ 42-17153 and 42-19106, on all of the Debtor’s personal property located in

22   Maricopa County. MCT objects to the Motion as it fails to provide for payment of the

23   2018 personal property taxes.

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1                                           BACKGROUND

2             Personal Property Taxes:

3             MCT will file its secured Proof of Claim for the 2018 personal property taxes once

4    the 2018 taxes are liquidated in amount on or around September 1, 2018. Interest will

5    accrue at the statutory rate of 16% per annum until paid in full, if the taxes are not timely

6    paid. See 11 U.S.C. § 511 and A.R.S. § 42-18053. The tax liens attached on January 1,

7    2018. A.R.S. § 42-17153. Further, the tax liens are “prior and superior to any other liens

8    of every kind and description regardless of when another lien attached” and the liens

9    “shall not be discharged until the taxes are paid or the title to the property vests in a

10   purchaser of the property for taxes.” A.R.S. § 42-191061.

11            According to the Store List attached to the Interim Order (DE 89), the only store

12   in Maricopa County currently included in the Motion is Store #415 located at 4003 E.

13   Indian School Road, Phoenix, AZ. The tax parcel related to this location is 993-65-970

14   and the estimated amount due for the 2018 tax is $4,388.66, but this amount may

15   change depending on the information provided to the Assessor.

16                                           OBJECTION

17            MCT objects to the sale of the furniture, fixtures and equipment (“FF&E”),

18   because the Motion fails to provide for payment of the personal property taxes,

19   including any interest, from the sale proceeds of the FF&E related to the closing store(s)

20   in Maricopa County. The Motion seeks authorization for the Agent to sell the FF&E at

21   each closing location. Alternatively, the FF&E may be moved to another store location

22   or abandoned. The affirmative duties of the Merchant include paying all taxes relating to

23   the Stores and collecting all sales taxes and paying them to the appropriate taxing

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24       See also A.R.S. § 42-17153.
                                                    2
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1    authorities, but the Motion fails to provide for payment of the personal property taxes or

2    is unclear as to who will pay the taxes. The Letter Agreement Governing Inventory

3    Disposition (the “Agreement”) dated August 5, 2018 between the Agent and

4    Merchant/Debtor provides that the Merchant shall be responsible for all reasonable

5    costs and expenses incurred by Agent in connection with the sale of the FF&E. Further,

6    the Agent is required to remit to Merchant all gross proceeds from the sale of FF&E on

7    a weekly basis and Agent’s fees and all FF&E costs and expenses then incurred shall

8    be paid within seven (7) days after each such weekly reconciliation. See Agreement,

9    Section “J”. MCT requests that the personal property taxes on any of the Closing Stores

10   in Maricopa County be paid in full, including interest, from the sale proceeds within

11   seven (7) days from the sale of the property or no later than seven (7) days after the

12   sale termination date.

13          Arizona law provides that “Each item of property in an assessment is liable for

14   the taxes on all items of personal property in the same assessment.” A.R.S. § 42-

15   15059. In addition, Arizona law provides that “If the tax has not been paid on property

16   sold at judicial sale, or sold by an executor, administrator, guardian or trustee, the

17   person making the sale shall pay the taxes, penalties and costs from the proceeds of

18   the sale.” A.R.S. § 42-18059. Arizona law further provides that “It is unlawful for the

19   owner, a lienholder, a conditional vendor or any other person to knowingly sell or

20   transfer personal property or remove it from its location until the taxes on the property

21   are paid.” See A.R.S. § 42-19107.

22          Accordingly, the tax liens are not discharged and the personal property cannot be

23   sold, transferred, or removed from its location until the taxes and any interest is paid in

24   full. The county is entitled to have its tax liens on the property paid from the sale of

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1    which the funds were derived. Brans v. City of Dallas, Texas, 217 F.2d 640, 641 (5th

2    Cir.1954).

3           MCT requests that Debtors provide notice to MCT of any abandonment of

4    property including a list and/or description of the property abandoned. Any property that

5    is abandoned remains subject to the tax liens.

6           WHEREFORE, Maricopa County objects to the Motion and the sale, transfer or

7    removal of the FF&E relating to parcel 993-65-970 and any other personal property

8    relating to Stores in Maricopa County that may subsequently be included in this Motion,

9    unless the sale order provides that (i) the 2018 personal property taxes will be paid in

10   full, including any statutory interest, within seven (7) days of the sale, transfer or

11   removal of the property, OR no later than seven (7) days after the applicable sale

12   termination date, and (ii) the tax liens remain on the property until the taxes and any

13   interest are paid in full.

14          Dated: August 13, 2018.

15                                            WILLIAM G. MONTGOMERY
                                              MARICOPA COUNTY ATTORNEY
16
                                              /s/ Peter Muthig_____________________
17                                            PETER MUTHIG (AZ State Bar #018526)
                                              Deputy County Attorney
18                                            CIVIL SERVICES DIVISION
                                              Security Center Building
19                                            222 North Central Avenue, Suite 1100
                                              Phoenix, Arizona 85004-2206
20                                            Telephone (602) 506-1735
                                              Fax: (602) 506-8567
21                                            Attorney for Maricopa County Treasurer

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1                                CERTIFICATE OF SERVICE
           I, Peter Muthig, hereby certify that, on August 13, 2018, I caused a copy of the
2
     foregoing document to be served upon the parties below in the manner indicated.
3
     U.S. MAIL & ELECTRONIC MAIL
4
     Richard L. Schepacarter
5    Office of the U.S. Trustee
     J. Caleb Boggs Federal Building
     844 King Street, Ste. 2207
6    Lockbox #35
     Wilmington, DE 19801
7    Email: richard.schepacarter@usdoj.gov

8    Peter J. Keane
     Richard M. Pachulski
     Pachulski Stang Ziehl & Jones LLP
9    919 North Market Street, 17th Floor
     P.O. Box 8705
10   Wilmington, DE 19801
     Email: pkeane@pszjlaw.com
11   Email: rpachulski@pszjlaw.com
     Attorneys for Debtors
12   William B. Freeman
     Karen B. Dine
13   Katten Muchin Rosenman LLP
     575 Madison Avenue
14   New York, NY 10022-2585
     Email: bill.freeman@kattenlaw.com
15   Email: karen.dine@kattenlaw.com
     Attorneys for Debtors
16   Kevin J. Simard
     Choate Hall & Stewart LLP
17   Two International Place
     Boston, MA 02110
18   Email: ksimard@choate.com
     Counsel to Encina Business Credit, LLC
19   Jason DelMonico
     Holland & Knight
20   10 St. James Avenue, 11th Floor
     Boston, MA 02116
21   Email: Jason.DelMonico@hklaw.com
     Counsel to Gordon Brothers Finance Company
22

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1    Daniel Fiorillo
     Otterbourg P.C.
     230 Park Avenue
2    New York, NY 10169
     Email: dfiorillo@otterbourg.com
3    Counsel for Israel Discount Bank of New York

4    Ian Fredericks
     5 Revere Drive, Suite 206
5    Northbrook, IL
     Email: ifredericks@hilcoglobal.com
     Counsel to Hilco Merchant Resources
6

7
                                        /s/ Peter Muthig___________________
8                                       Peter Muthig (AZ Bar No. 018526)

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